Case 2:09-cv-01554-NVW Document 91 Filed oaiorits Page 1 of 52

 

7 FLED ____ LODGED
___M@CEIVED _ COPY

 

Carlos Adrian Morley
1103 South Farmer #8 MAR O1 2011
Tempe, Arizona 85281 DISTT OF A gourt

UNITED STATES DISTRICT COURT
DISTRICT OF ARIZONA

Carlos Adrian Morley, CV-09-1554-PHX-NVW (LOA)
Petitioner, Pursuant to 28 U.S.C. §§144 & 28 U.S.C. §§455
as well as RULE 25 AND U.S.C. §§ 8093

V. PETITION FOR RECUSAL
OF MAGISTRATE JUDGE

Yolanda Elliot, et al., Hon. NEIL V. WAKE
Respondent.

COMES NOW HERE, Petitioner Carlos Adrian Morley in the most humble capacity of a
Pro Pria Persona litigant who is praying for LIBERAL CONSTRUING under HAINES v
KERNER_96 S. Ct. 594 (1972); BOAG v. McDOUGALL 454 U. S. 364 (1982); U.S. v
SEESING 234 F, 2d 456 (CA.9 2000); & HOHN v U.S. 262 F.3d 811 (CA 8 2001) and not hold
the Petitioner to the stringent standards as a licensed bar certified United States District Court
Appointed Attorney as he lacks the judicial training and has limited skills for which to express

the intricacies of this case at bar.

Pursuant to 28 U.S.C. §§144 & 28 U.S.C. §§455 (b) requires Mandatory Disqualification
or Recusal where BIAS exist as a result of a family member being affected by the outcome of a
possible reversal of the convictions at bar, specifically CR2002-014160 & CR2003-021342-001-

DT.
Case 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 2 of 52

Petitioner Morley will demonstrate through the record as well as the evidence that the
Magistrate Judge Lawrence O. Anderson should disqualify himself as well as his January 14,
2011 (document #76) REPORT AND RECOMMENDATION as well as (document #79)
REPORT AND RECOMMENDATION which was filed less than two weeks later and the
January 14,2011 (document #77) ORDER which calls for vacating the January 21,2011
evidentiary hearing, which also denies Petitioner Morley a continuance for the purposes of a
much needed conference with his attorney of record David Eisenberg who is acting on his own
asking for a reduction in sentence instead of asking for a withdrawal of the plea contracts as they
are invalid as well as Constitutionally void. This Petition in coordination with 28 U.S.C. §§144
& 28 U.S.C. §§455 (b) provides an opportunity to avoid the appearance of impropriety by
removing Magistrate Judge Anderson in any capacity of making legal opininions, or making
recommendations which could affect the outcome of this case at bar. The attached exhibits
demonstrate the impossibility of the fair and impartial involvement by this Magistrate Judge

Lawrence O. Anderson.

Judge Anderson should have recused himself as his family member HON. AIMEE L.
ANDERSON made pertinent presidings in this case during pre-conviction, which could come
under scrutiny in the probable event that these convictions become overturned. Identified as
exhibit (A) is the attached copy of IPTC Initial Pre Trial Conference dated 5/20/2004 by HON.

AIMEE L. ANDERSON as presiding Superior Court Judge.

Petitioner Morley has raised numerous claims against his Attorney of record, Bruce E.
Blumberg, citing Ineffective Assistance Of Counsel how the petitioner should have never been
advised to enter a Criminal Plea Agreement in a matter for an Equity Court, and that his attorney

of record should have Challenged Venue as well as Subject Matter Jurisdiction.
Case 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 3 of 52

This INITIAL PRETRIAL CONFERENCE document is evidence of not only the
appearance of impropriety but proves the CR 2003-021342-001 DT is scheduled first for trial
and the CR2002-014160 is slated to go second which means it cannot be considered as a Prior
Felony Conviction for sentencing enhancement for the CR 2003-021342-001 DT case at bar.
This document also prover that Petitioner Morley was in fact blindsided with the news of using a

prior Felony Conviction since the even the HON AMEE ANDERSON was not either aware.

Petitioner Morley also cites numerous due process violations and this document also
proves Bruce E. Blumberg deliberate indifference to keep court room appearances for his client
after taking his last thirty thousand ($30,000.00). Here he has waived his appearance for
Petitioner Morley as he also failed to appear at the Arraignment in front of the Hon. Benjamin

Vatz on 10-2-03 and also failed to appear at Petitioner Morley’s July 2, 2004 trial.

This INITIAL PRETRIAL CONFERENCE document is evidence that Bruce E.
Blumberg by waiving his appearance forfeited yet another opportunity to move this from a
criminal Court to an equity court where it did in fact belong. Many things were decided which
violated Petitioner Morley’s USCA 6" as well as his USCA 14" which guarantees due process,
legal representation, so it could appear that the Magistrate Judge Lawrence O. Anderson should
disqualify himself. It was as if the Magistrate Judge Lawrence O. Anderson himself was in fact

the Judge that day.

Also attached and Identified as exhibit (B) Transcript of the October 6" 2010 Hearing to
remove Attorney Joy Bertrand as counsel for the Petitioner Morley. Petitioner Morley first took
possession of this Court Reporters Transcript on Friday, January 21, 2011 as it was a sealed

document not available to the Petitioner any earlier.
Case 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 4 of 52

On page 3 line 13-15 of this Oct. 6™ 2010 Reporters Transcript Petitioner is prevented
from speaking, “Okay. Lets not get lost in the minutia.” as well as on page 11 line 2. Then
stopped from speaking again on line 5 and then on line 12 and line 18 the Magestrate Judge gets
quite loud and alludes to accusing Petitioner Morley as being a Racist all this happens on the

same page 11.

Then on page 12 Magistrate Judge Anderson line 9 accusing Petitioner Morley of being a
“difficult client.” All of the nine issues which Petitioner Morley presented in his Petition for a
Writ Of Habeas Corpus were all exhausted in every step of the lower courts, so on page 13 line

21 is an example of how the Magistrate Judge Anderson makes a claim that is not accurate.

On page 14 Judge Anderson shows a deliberate indifference to Petitioner Morley’s
problems with Joy Bertrand as if Mr. Morley should expect to lose the issues through any
procedural default of Attorney Joy Bertrand. Then again on page 15 line 7-8 the Magestrate

Judge labels “Mr. Morley is a difficult, challenging client”

The purpose for this hearing was to shed light on the problems Petitioner Morley is
having with his Attorney, so why does the Magistrate Judge Anderson say on page 15 line 16
“Tell me here in open court. What are your problems that you have had with Mr. Morley, either

in communications or dealing with him?”

This Magistrate Judge doesn’t get rough with Joy Bertrand when he finds out she refuses
to do her job or even communicate with Mr. Morley. The Magistrate Judge Anderson chooses to
use the hearing to reprimand Petitioner Morley, instead of reprimanding Joy Bertrand. The
Magistrate Judge Anderson totally ignores the 4" legal professional capacity opinion this one by

Joy Bertrand’s observations of Mr. Morley’s Capacity issues Page 16 lines 2-23, (lines 6-7) “Mr.
Case 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 5 of 52

Morley — | think is still struggling with some capacity issues.” Also (lines 17-18) ’I have seen

my difficulties with Mr. Morley more towards clinical issue than a personality issue.”

Please also turn to page 20 (lines 4-5) of exhibit (B) the Oct. 6” 2010 Reporters
Transcript the Magistrate Judge Anderson is disappointed in Petitioner Morley as he is again on
lines16-19 scolding Petitioner Morley and threatening Petitioner Morley with refusing to provide
Petitioner Morley with a third lawyer even if the assistance of the newly appointed lawyer is also
ineffective. Still on page 20 (lines 21-25) Magistrate Judge Anderson is suggesting Petitioner
Morley will be “He’s impossible” or that Petitioner will ask the new lawyer to violate ethics
RULES. See also the final page 21 of this Court Reporters Transcript (lines 1-7) Magistrate
Judge Anderson suggests that Petitioner Morley would ask the new attorney to make not
exhausted claims to the United States District Court and continues the threats (line 4) “There
won’t be a third lawyer” As well as line’s 6-7; “You will be representing yourself. Do you
understand that?”Turey v Ohio, 273 U.S.510,522(1927)(general rule that officers acting in
judicial or quasi-judicial capacity are disqualified by their interest in the controversy to be
decided) 28 U.S.C. §§144 (district court judge shall be disqualified if party to district court
proceedings files a timely and sufficient affidavit showing personal judicial bias or prejudice) 28
U.S.C. §§455 (a) (any justice, judge, or magistrate shall himself or herself in any proceeding if
impartiality might reasonably be questioned); 28 U.S.C. §§455 (b)( any justice, judge, or
magistrate shall himself or herself in circumstances creating actual bias or personal knowledge of
the proceeding) 294 F.3d 1075, 1082-83 (9" Cir. 2002)(recusal required because Judge failed to
ask another judge to preside over a contempt charge predicated on alleged personal attack on
judge, and judge’s behavior showed bias and “personal embroilment”) 368 F 3d709,718 (7" Cir.

2004)(motion to recuse under §455 requires only reasonable appearance of bias, whereas motion
 

Case 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 6 of 52

to disqualify under §144 requires showing of actual bias) U.S.v Microsoft Corp. ,253 F.3d 34,
114 (D.C.Cir. 2001)(disqualification of judge under §144 requires filing affidavit while case is in
district court whereas §455 does not)./n re U.S., 158 F 3d 26, 30 (1* Cir. 1998)(if question of
whether §455(a) requires disqualification is close, balance tips in favor of recusal); Republic of
Pan. v. Am. Tobacco Co., 217 F.3d343,347(5" Cir.2000)(if question of whether §455(a) requires
disqualification is close, balance tips in favor of recusal); rev’d on other grounds sub nom. Sao
Paolo v. Am. Tobacco Co.,535 U.S. 229 (2002); U.S.v.Dandy, 998 f. 2d 1344, 1349 (6" Cir.
1993)Gf question of whether §455(a) requires disqualification is close, balance tips in favor of
recusal);U.S.v. Holland,519 F.3d 909,912 (9" Cir.2008) (if question of whether §455(a) requires
disqualification is close, balance tips in favor of recusal); Nichols v. Alley, 71 F.3d 347, 352
(10" Cir. 1995) (if question of whether §455(a) requires disqualification is close, balance tips in
favor of recusal); U.S. v. Patti, 337 F3d 1317,1321(11" Cir.2003) (if question of whether

§455(a) requires disqualification is close, balance tips in favor of recusal);

Magistrate Judge Lawrence O. Anderson filed his January 14, 2011 (document #76)
REPORT AND RECOMMENDATION and within a couple of weeks (document #79) REPORT
AND RECOMMENDATION are both based in part upon receiving the states (document #75)
RESPONDENTS BRIEFING IN ACCORDANCE WITH THE COURT’S ORDER OF JULY 7,
2010 Magistrate Judge Lawrence O. Anderson in direct conflict with all his previous documents
took a total 180 degree about face and Granted a Motion which was already reversed by the State

in (document #75) which is attached to this pleading and identified as EXHIBIT C.

The arguments formulated by a ROUGE defense attorney acting SUA SPONTE along
with the states argument against these ridiculous claims made by this attorney David Eisenberg.

The United States District Court appointed Attorney never responded to the Petitioner Morley’s
 

Case 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 7 of 52

8 full pages of emails then filed a ridiculous document on December 30, 2010 He also said he
would file for the court’s permission to expand the argument but did not. Due process would
require Magistrate Judge Lawrence O. Anderson to have a hearing on the Matter of Attorney
David Eisenberg Filing a document without the knowledge or approval of his client as well as a
hearing to determine the nature of Petitioner Morley to ask Attorney David Eisenberg to step

down as his Attorney. in direct conflict with all his

Petitioner Morley filed a Motion to Continue asking the courts to consider the facts that
David Eisenberg was acting SUA SPONTE and informed the courts petitioner Morley would be
asking his attorney to withdraw as Petitioners counsel because he would refused to argue for
overturning the convictions and never answered any the eight pages of emails which included
challenging both Grand Jury Transcripts as well as the numerous claims against his Attorney of
record, Bruce E. Blumberg, citing Ineffective Assistance Of Counsel which prejudiced the

outcome of Petitioner Morley’s case.

CONCLUSION

Petitioner Morley prays that this court will re-appoint a new Magistrate J udge, stricken
from the record all the (document #76) REPORT AND RECOMMENDATION and within a
couple of weeks (document #79) REPORT AND RECOMMENDATION as well as any order to
vacate the much needed Evidentiary hearing. Perhaps the most efficient way to remedy this
situation is to grant the WRIT FOR A PETITION FOR A HABEAS CORPUS since the state has
conceded in (document #75) RESPONDENTS BRIEFING IN ACCORDANCE WITH THE
COURT’S ORDER OF JULY 7,

RESPECTFULLY SUBMITTED this 1* day of March 2011 by Carlos Adrian

Morley Lk, VA Plots
Case 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 8 of 52

CERTIFICATE OF SERVICE

I do here by certify that on this 1st day of March 2011 I did hand deliver in person to the

parties listed below

ADRIANNA M. ROSENBLUM
ASSISTANT ATTORNEY GENERAL
CRIMINAL APPEALS/CAPITAL
LITIGATION SECTION

1275 W. Washington

Phoenix, Arizona 85007-2997

Carlos Adrian Morley
1103 South Farmer #8
Tempe Arizona 85281

RESPECTFULLY SUBMITTED
THIS Ist day of March 2011

coe Adrian Morley
iba Minn Pe
Case 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 9 of 52

Carlos Adrian Morley
1103 South Farmer #8
Tempe, Arizona 85281

UNITED STATES DISTRICT COURT

DISTRICT OF ARIZONA
Carlos Adrian Morley, CV-09-1554-PHX-NVW (LOA)
Petitioner, Pursuant to U.S.C.§2:64&
RULE25
V. SWORN AFFIDAVIT IN SUPPORT OF

DISQUALIFICATION OR RECUSAL OF
MAGISTRATE JUDGE

Yolanda Elliot, et al., Attention to Presiding Hon. NEIL V. WAKE
Respondent.

I Carlos Adrian Morley, being first duely sworn upon this oath states under the severe

penalty of perjury that:

(1) I am the affiant herein, and the above Petitioner is Prejudiced by all Reports and

Recommendations opinions ORDERS as well as findings.

(2) I have read all of the statements contained in the foregoing petition.I Carlos Adrian
Morley as the Affiant have personal knowledge of the facts as set forth in this Affidavit
as well as the MOTION FOR RECUSAL FOR MAGISTRATE JUDGE. This Affidavit is

submitted in support of Plaintiffs attached pleading

(3) United States District Court Magestrate Judge Lawrence O. Anderson cannot provide

a fair and impartial hearing or participate in any final judgement or ruling before this
Case 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 10 of 52

District of Arizona United States District Court, in all the Issues set forth in his Petition

for a Writ for a Habeas Corpus.

I am requesting the recusal of the United States District Court Magestrate Judge
Lawrence O. Anderson based upon my own personal knowledge to the matters stated therin,
hereby states the same is true and correct. This document serves to make the entire petition for
recusal in its entirety an official AFFIDAVIT, making all rules of Court Federal as well as the

United States District Court applicable.

Subscribed And Sworn, Affirmed To
Before Me This Ist day of March 2011

 

. Jf
By: CLL, A 7s Carlos Adrian Morley

O
~)
O
wa
N

O| | My commission Expires

 

 

  
 

SHEN NOAH BURKES
‘ aag\;\, NOTARY PUBLIC -- ARIZONA
aa MARICOPA COUNTY
My Commission Expires
February 3, 2014

 

 

fp Ke
T Ly AY fh Notary Public

 

om,
Case 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 11 of 52

EXHIBIT A
wr es VFwv Ss wy
wewwvT wTFuwvrwwvwwevvwvsevwevwewevueweerwwwsewqevevdgess wewvwwTwewvwwvwe weve wow

Case 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 12 of 52

SUPERIOR COURT OF ARIZONA
MARICOPA COUNTY

CR 2002-014160 05/20/2004

CLERK OF THE COURT
A. Aguirre
Deputy

HON. AIMEE L. ANDERSON

FILED: 05/26/2004
STATE OF ARIZONA MARY L HARRISS

Vv.

CARLOS ADRIAN MORLEY BRUCE E BLUMBERG ”~

JUDGE SCHNEIDER
VICTIM SERVICES DIV-CA-CCC

INITIAL PRETRIAL CONFERENCE

Due to computer system malfunctions, the Court is unable to record the proceedings at
this time. Defendant and respective counsel advise the Court that they wish to proceed with the

Initial Pretrial Conference, and will waive their appearance for the purpose of putting matters on
the record at a later time. ,

Later:

State's Attorney: Appearance Waived
Defendant's Attorney: Appearance Waived
Defendant: Appearance Waived

A record of the proceedings is made by CD/videotape in lieu of a court reporter.

The Court has conducted an initial pretrial conference (IPTC) this date.

_ ITIS ORDERED as follows:

A Final Trial Management Conference is set for 8/24/2004 at 8:30 a.m. before Judge
Schneider.

Jury Trial is set for 8/26/2004 at 9:30 a.m. before Judge Schneider.

Docket Code 194 Form R194 Page |
Case 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 13 of 52

SUPERIOR COURT OF ARIZONA
MARICOPA COUNTY

CR 2002-014160 03/20/2004

Estimated length of trial: 8 days
Last Day: 9/27/2004 (0 DAYS EXCLUDED)

The trials for this Defendant shall proceed in the following order:

CR2003-021342-001 DT, first:
CR2002-014160, Second.

5
IT IS FURTHER ORDERED affirming the Settlement Conference on 6411/2004 at 11:00
a.m. before Judge Reinstein. Pai

A DEFENDANT'S FAILURE TO APPEAR AT THE FINAL TRIAL MANAGEMENT
CONFERENCE OR THE TRIAL MAY RESULT IN A BENCH WARRANT BEING ISSUED

FOR HIS OR HER ARREST AND THE FTMC AND TRIAL BEING CONDUCTED IN THE
DEFENDANT'S ABSENCE, ‘

THE TRIAL DATE SHALL NOT BE CONTINUED UNLESS A WRITTEN MOTION
TO CONTINUE IS FILED AT LEAST 5 DAYS BEFORE THE TRIAL. A CONTINUANCE
WILL NOT BE GRANTED UNLESS THE MOTION SHOWS THAT EXTRAORDINARY
CIRCUMSTANCES EXIST. (Rule 8.5, Rules of Criminal Procedure and guidelines thereto.)

FINAL TRIAL MANAGEMENT CONFERENCE

The purpose of the Final Trial Management Conference (FTMC) is (1) to complete final

preparations for trial, and (2) to resolve pending pretrial issues, including possible settlement of
the case.

IT IS ORDERED THAT COUNSEL WHO WILL TRY THE CASE AND THE
DEFENDANT(S) SHALL PERSONALLY ATTEND THE CONFERENCE. VICTIMS
SHALL BE NOTIFIED OF THE CONFERENCE.

JOINT PRETRIAL STATEMENT

Counsel shall meet and confer prior to the FTMC and jointly prepare a Joint Pretrial

Statement (JPTS) using the approved form. The JPTS form is to be provided to the trial Judge
prior to the FTMC.

The approved JPTS form is provided to counsel at this IPTC.

IT IS FURTHER ORDERED affirming prior custody orders.

Docket Code 194 Form R194 Page 2
Case 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 14 of 52

EXHIBIT B
Case 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 15 of 52

 

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF ARIZONA

 

Carlos Adrian Morely,

SEALED
CV09-1554-PHXK-NVW (LOA)
Phoenix, Arizona
October 6, 2010

3:40 p.m.

Plaintiff,
vs.
Yolanda Elliot, et al,

Defendant.

 

BEFORE: THE HONORABLE LAWRENCE O. ANDERSON, MAGISTRATE JUDGE
TRANSCRIPT OF PROCEEDINGS

MOTION HEARING

APPEARANCES:

For the Petitioner Carlos Adrian Morley:
JOY BERTRAND ESQ., LLC.
By: Joy Malby Bertrand, Esq.
P.O. Box 2734
Scottsdale, AZ 85252-2734

ALSO PRESENT: Paralegal Jameson Johnson

Transcriptionist:

Elizabeth A. Lemke

Sandra Day O'Connor U.S. Courthouse, Suite 312
401 West Washington Street, SPC. 34

Phoenix, Arizona 85003-2150

(602) 322-7247

Proceedings Recorded by Electronic Sound Recording
Transcript Produced by Transcriptionist

 

 

 

UNITED STATES DISTRICT COURT
Case 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 16 of 52 2

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

PROCEEDINGS
(Called to the order of court at 3:40 p.m.)

THE COURT: Now, Mr. Morley, Sherise, our clerk, is
going to lock the courtroom so no one can come in.

CARLOS ADRIAN MORLEY: Okay.

THE COURT: Mr. Morley, you filed a motion in which
you've titled it Motion to Remove Counsel and Appoint New
Counsel.

We need to have an understanding from the beginning.
You can represent yourself at any time in this litigation,
Mr. Morley.

CARLOS ADRIAN MORLEY: Yes.

THE COURT: But you cannot pick and choose who your
lawyer is. Do you understand that?

CARLOS ADRIAN MORLEY: Yes.

THE COURT: Okay. Now, Mr. Morley, I have read your
motion, and I think it was appropriate for me to appoint a
lawyer for you, and Ms. Bertrand has been appointed to
represent you in this case.

And although I have not seen any bill yet, I'm sure
she's spent a lot of time on this case, as well as her
paralegal Mr. Johnson at her direction.

Is that a fair assessment, Ms. Bertrand?

MS. BERTRAND: Yes, sir.

THE COURT: Okay. Now, and maybe before I start

 

UNITED STATES DISTRICT COURT

 
Case 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 17 of 52 3

10

il

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

asking questions, Mr. Morley, maybe you could stand either
there or at the podium and tell me all the reasons why you
want a new lawyer.

CARLOS ADRIAN MORLEY: All right. I will do that. I
will go to the podium.

THE COURT: I don't mind you standing there as long
as you're close to a microphone. That's the main thing.

CARLOS ADRIAN MORLEY: All right. Does this work?

THE COURT: That's fine.

CARLOS ADRIAN MORLEY: All right then. To begin
with, the day -- if you read my motion, it says in here that I
happened to go by the court -- the U.S. District Court
building on the 15th, I believe, to find out that I had --
that --

THE COURT: Okay. Let's not get lost in the minutia.

CARLOS ADRIAN MORLEY: Yes.

THE COURT: Okay? I don't want to get lost here in
the details.

CARLOS ADRIAN MORLEY: Okay.

THE COURT: All right. What's the problem? That she
uses a paralegal?

CARLOS ADRIAN MORLEY: No. The problem is their --
well, for one thing, that's the first I have ever heard of him
being referred to as a paralegal. The first time. All along

I believed he was my attorney. In fact, if you look at

 

UNITED STATES DISTRICT COURT

 
Case 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 18 of 52 4

10

il

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

Exhibit A of the motion to remove him as counsel, I made an
enlarged picture of his business card and it says Southwest
Litigation Support, LLC.

Now, to me that means -- doesn't mean paralegal.
That means quite a bit higher that I -- and there is no
disclaimer there that says that he's a paralegal. Sol
assumed immediately that he was a lawyer. So at the time we
were having our meeting at the Starbucks coffee shop which I
alluded to in my motion --

THE COURT: Right.

CARLOS ADRIAN MORLEY: -- I believed -- I would never
have agreed to tell him or be cross-examined by him.

THE COURT: Okay. All right. Let me ask you just to
relax and settle down.

CARLOS ADRIAN MORLEY: OKay. I'm sorry.

THE COURT: Okay? The issue of privilege is
controlled by state law here in federal court.

CARLOS ADRIAN MORLEY: Yes.

THE COURT: Take a look at Rule 507 of the Federal
Rules of Evidence. Okay?

CARLOS ADRIAN MORLEY: Yes.

THE COURT: A paralegal working for Ms. Bertrand is
covered by the attorney-client privilege. So everything that
you were to say to the paralegal in the context of trying --

him trying to assist you --

 

UNITED STATES DISTRICT COURT

 
Case 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 19 of 52 5

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

CARLOS ADRIAN MORLEY: Yes.

THE COURT: -- at a lesser rate than having
Ms. Bertrand do all of the legwork is protected by the
attorney-client privilege. And I suspected, Mr. Morley, that
you wanted some proof of that, so I have got a couple of cases
here that I printed off that you are free to read in your
leisure, but I'm going to make a record here.

This is -- the first case is an Arizona case. It's
called Roman Catholic Diocese of Phoenix v. Superior Court.
That's found at 62 P.3d 970. 62 PB.3d 970. It's a 2003 case.

CARLOS ADRIAN MORLEY: Yes.

THE COURT: And the Arizona Court of Appeals referred
to in a footnote -- and let me find it here. It's discussing
an amendment to the statute that they have in Arizona that
extends the attorney-client privilege to attorneys and it says
here and I'm quoting:

"The legislation defined the privilege differently,
extended it to entities other than corporations, and expressly
applied it to an attorney's paralegals and assistants."

Okay?

CARLOS ADRIAN MORLEY: Yes.

THE COURT: So I think part of your problem is you're
assuming that the attorney-client privilege does not apply to
Mr. Johnson. Tt does. All right. So can we move past that?

CARLOS ADRIAN MORLEY: Well, I just wasn't aware of

 

UNITED STATES DISTRICT COURT

 
Case 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 20 of 52 ¢

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

any oath of office that he took or any type of thing like that
as far as -- and I didn't even know -- the first time I was --
ever heard of him being referred to as a paralegal was after I
filed these documents.

THE COURT: All right. Now, the name of his LLC
doesn't tell me anything except he does business by way of a
professional legal corporation. It doesn't tell me he's a
lawyer, a paralegal, or anything. You would have to ask him
that.

Did you ever ask him if he was a lawyer?

CARLOS ADRIAN MORLEY: No. I didn't want -- I
assumed that since he was cross-examining me and quoting me
case law from federal case law, and I knew he was being paid
somehow, that I put it all together that he was obviously a
lawyer.

THE COURT: All right. You may have taken it ag
cross-examining you. I'm sure he was asking you pointed
questions to get answers to try to help him help you in your

case.

Let me ask you to just hold on one second. Let's hit
the pause button, Mr. Morley.

CARLOS ADRIAN MORLEY: Yes.

THE COURT: Mr. Johnson, are you a licensed paralegal
in the State of Arizona, sir?

JAMESON JOHNSON: To the best of my knowledge,

 

UNITED STATES DISTRICT COURT

 
Case 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 21 of 52 7

10

11

12

13

14

15

16

17

18

19

20

2i

22

23

24

25

 

 

paralegals are actually not licensed by the Arizona bar.

THE COURT: Okay.

JAMESON JOHNSON: In every --

THE COURT: Would you stand up when you address the
Court, please?

JAMESON JOHNSON: I apologize, sir. I'm actually not
used to addressing the Court.

In any case, in every conversation that I have with
my initial conversations with a client, I always introduce
myself as the paralegal for whichever attorney I'm working
for; you know, I work for John McBee, Ms. Posada, Michael
Kimerer, lots of people; but I always let them know that I am
a paralegal. What they tell me I cannot be compelled to

share.

I also let people know that a lot of times attorneys
hire me because of their schedules I have more availability.
So I'm better able to be their point of contact rather than
them waiting for phone messages to be returned.

THE COURT: Is your hourly rate, as far as you know,
less than Ms. Bertrand's for this appointment?

JAMESON JOHNSON: Substantially, less.

THE COURT: Okay. And do you have a recollection
whether you ever represented to Mr. Morley that you were a
paralegal working on this case for Ms. Bertrand?

JAMESON JOHNSON: I did in the very first

 

UNITED STATES DISTRICT COURT

 
Case 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 22 of 52

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

conversation that I had with Mr. Morley.

THE COURT: Okay. Did you ever represent to him that
you were a lawyer?

JAMESON JOHNSON: Never.

THE COURT: Okay. And that's because it's not true?

JAMESON JOHNSON: Correct.

THE COURT: Okay. All right. Thank you. You may be
seated, Mr. Johnson.

Now, Mr. Morley, I don't know if this issue is more
than just your assumption that he was a lawyer and then you
found out he wasn't and then what effect that might have on

your case.

Is there a broader issue here that needs to be
addressed?

CARLOS ADRIAN MORLEY: Well, you see, Your Honor, if
there is some sort of problem that I would have with this
particular gentlemen now knowing that he is a paralegal, there
is no rule book that says what I can read to find out. Under

Rule 42 it governs conduct of attorneys.

I don't see any rules in there under Rule 42 that
governs conduct of a paralegal or someone who acts as an
assistant. That's one thing.

And the other thing is I have never had a
conversation with this gentlemen where he was anything less --

you couldn't describe it as anything but absolutely, almost

 

UNITED STATES DISTRICT COURT

 
Case 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 23 of 52 5

10

li

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

the rudest that I have ever had of any conversation. It's the
utmost disrespect I have ever had with an individual.

And one of the things that I have had trouble with is
I asked him originally because it took so long for Joy
Bertrand to contact me to tell me she was my attorney, I never
even found out from her. I had to find out from Mr. Jameson.

And so I assumed at that moment that he was a partner
in the law firm, because she never called me. I made several
attempts to try to get ahold of her, and she would never --
and I have all of these e-mails that I have as evidence to
show where I tried to contact her. And there's no -- there is
no reply to the e-mails.

And to answer your question further, Mr. Jameson and
I, we had -- every single time we've had a conversation, he's
instructing me about the law. And one of the first
conversations I had with him on the phone was that I said,
well, the bottom line is there has been so many days lapse
since the appointment of Ms. Bertrand -- and also if you
notice that there were nine different issues that were brought
to the habeas corpus petition and there are only -- the Court
is only addressing one of them -- so I asked Mr. Jameson,
because I thought he was an attorney at the time, I spoke to
him on the phone and I said, Well, is it possible then that we
should file a motion for leave to amend because I failed to

file specific arguments in a lawyerly manner or a person who

 

UNITED STATES DISTRICT COURT

 
Case 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 24 of 52

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

10

 

 

has lawyerly skills and do I need to do that?

And he said, Well, what sort of motion do you need to
file? And I said, Well, for one thing, I'm under probation.
right now. The probation began in 2004. And so I'm having to
pay $150 a month in probation and I would like to file a
motion for leave to -- or not a leave to amend, a motion to
perhaps release pending appeal, in other words, release me
from the probation pending the outcome of this particular
issue.

THE COURT: Okay. Mr. Morley, are you telling me
that you are on probation with the State of Arizona?

CARLOS ADRIAN MORLEY: Yes, with Maricopa County
Sheriff's Department.

THE COURT: Well, you're on probation with probably
the Maricopa County Superior Court.

CARLOS ADRIAN MORLEY: Right.

THE COURT: Not with the Sheriff's Department. Okay?

CARLOS ADRIAN MORLEY: Okay.

THE COURT: And is that as a result of the conviction
for which you have sought the habeas corpus action here in
federal court?

CARLOS ADRIAN MORLEY: Yes.

THE COURT: Okay. All right. And you're not
expecting either Ms. Bertrand or Mr. Johnson to help you get

you off probation, are you?

 

UNITED STATES DISTRICT COURT

 
. Case 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 25 of 52 11

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

CARLOS ADRIAN MORLEY: Well, the way I read the
federal rules here --

THE COURT: Let me cut to the chase here. They don't
do that for you.

CARLOS ADRIAN MORLEY: Okay. Well --

THE COURT: Okay?

CARLOS ADRIAN MORLEY: Well, perhaps you could answer
this. I have a question, because under 28-2254 it says in
there that I'm no longer under the jurisdiction of Maricopa
County, I'm under the jurisdiction of the federal government
while the case is pending.

THE COURT: Well, that's not true. That's not true.

CARLOS ADRIAN MORLEY: Okay. I did not know that.

THE COURT: That's not true. If you violate your
probation, I can assure you, sir, that you will be picked up
and incarcerated depending upon the nature of your violation.
Okay?

I need to be kind of blunt here, Mr. Morley.

CARLOS ADRIAN MORLEY: Yes.

THE COURT: Your problem with Mr. Johnson has nothing
to do with his being African-American, does it?

CARLOS ADRIAN MORLEY: No. I have never been that
way.

THE COURT: Okay.

CARLOS ADRIAN MORLEY: I have risked my life for

 

UNITED STATES DISTRICT COURT

 
Case 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 26 of 52

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

12

 

 

African-American people that I didn't even know.

THE COURT: Okay. I just want to get that out of the
courtroom.

CARLOS ADRIAN MORLEY: I don't even see the color of
the skin whenever I make a decision to protect someone with my
own life and I have done this before.

THE COURT: Okay. Now, Mr. Morley, very quick
conclusion that I'm coming to, that you perceived to me to be
a difficult client because you want to run the show. And
maybe you think you -- that you would be better off
representing yourself, Mr. Morley, than having a lawyer
represent you, because the lawyer is going to be the
quarterback of your team.

She's going to make the decisions. She's not going
to file a frivolous motion or do something that would cross
the bounds of lawyer ethics and jeopardize her license to
practice law.

And you have to understand that, that she's running
the show. And if that's not acceptable to you, then any other
lawyer would tell you the same thing. So you need to decide,
I think, whether you want a lawyer to represent you or not.

CARLOS ADRIAN MORLEY: I do want a lawyer. I do need
one. I can't make an oral argument in front of the U.S.
District Court. I don't have the skills.

THE COURT: Okay.

 

UNITED STATES DISTRICT COURT

 
. Case 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 27 of 52 13

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

 

 

CARLOS ADRIAN MORLEY: And I don't have the training.

THE COURT: All right. Do you have any criticism of
the way Ms. Bertrand has handled your case so far except she
didn't get in contact with you fast enough or to your e-mails?

CARLOS ADRIAN MORLEY: Well, the other thing that I
have is there's only 15 days that you have according to the --
according to the rules that they have in the U.S. District
Court and the other nine -- the other eight issues of the nine
issues that I brought, I thought perhaps they should have
perhaps filed some sort of motion for reconsideration or a
motion for leave to amend, because I wanted to know if we
totally relinquished all of those arguments forever if -- you
know, because one of them is capacity.

And I believe that I was able to establish the fact
that I did not have the mental capacity to enter any plea that
day and I think I carried that through every single lower
court.

THE COURT: Well, I don't think that Ms. Bertrand is
going to make an argument in federal court that was not
previously made in state courts, because such a claim would
be -- would not be exhausted. Okay? You can't raise new
issues here that were not raised first in state court.

So my question is how did you present that to
Ms. Bertrand? Did you tell her what you wanted done?

CARLOS ADRIAN MORLEY: I never spoke to her. I had

 

UNITED STATES DISTRICT COURT

 
Case 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 28 of 52 14

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

to speak to Jameson Johnson. The only time I got to speak to
Ms. Bertrand was in the coffee shop and she gave me this
document.

And this document she didn't even hand it to me. She
said, Don't call me. Make sure you contact him only. And
this is the document that he wrote in his handwriting and this
is all I have --

THE COURT: What is it?

CARLOS ADRIAN MORLEY: -- that proves that Jameson --
that Ms. Bertrand is my lawyer.

THE COURT: What is it that you're showing me?

CARLOS ADRIAN MORLEY: It is a -- it's just a -- it's
a piece of paper written from looseleaf paper and it says:

Joy Bertrand, Esquire, Box 2734, Scottsdale, Arizona, and
doesn't even have a phone number that I can even call her.

So I don't have the privilege anymore to call her or
e-mail. There is no e-mail address. So I guess that's all
been taken away.

THE COURT: Mr. Morley, did I not appoint
Ms. Bertrand to represent you? Is not my court order
sufficient proof, sir, that she's your lawyer?

CARLOS ADRIAN MORLEY: She did allude to the fact she
hadn't done any work as far as habeas corpus in U.S. District

Court.

THE COURT: Well, that's not true, because I know she

 

UNITED STATES DISTRICT COURT

 
Case 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 29 of 52 Ls

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

has in other cases. You're not being responsive to my
question.

Sit down, please, Mr. Morley. I want to hear from
Ms. Bertrand, please.

Ms. Bertrand, I don't know how many hours
collectively you and Mr. Johnson have put in this case. Have
I hit the nail on the head or have I missed it that Mr. Morley
is a difficult, challenging client?

MS. BERTRAND: Your Honor, I have a difficult job
generally. I hesitate simply because I want to give
Mr. Morley the best chance at success down the road in this
case, whether I continue as the lawyer or not.

There have been communication issues with Mr. Morley
that I addressed in general terms in my response to his
motion.

THE COURT: Tell me here in open court. What are
your problems that you have had with Mr. Morley, either in
communications or in dealing with him?

MS. BERTRAND: For some period he did not have of a
working phone number. That limited our contact with him.
There's --

THE COURT: Has that been remedied?

MS. BERTRAND: To the best of my Knowledge, yes. I
have hesitated to have contact with Mr. Morley after receiving

an e-mail from him saying "go away."

 

UNITED STATES DISTRICT COURT

 
Case 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 30 of 52

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

16

 

 

THE COURT: Okay.

MS. BERTRAND: So that's why the Court set this
hearing and I figured it would be better to wait for the
Court's intervention.

THE COURT: Okay.

MS. BERTRAND: Mr. Morley -- I think is still
struggling with some capacity issues. To the extent that
after he filed this pleading regarding this and, you know,
Judge, I don't take clients wanting a different lawyer
personally. I have been doing this too long.

But there were issues set forth in the motion that
were just not consistent with what the facts were or were
twisting things. At that point I contacted the capital habeas
unit at the Federal Defender's Office to discuss with the
lawyers that deal with this kind of issue a lot whether or not
I had a basis to have Mr. Morley reviewed for competency.

I have seen my difficulties with Mr. Morley more
towards clinical issue than a personality issue.

THE COURT: Okay.

MS. BERTRAND: The conclusion was, by the way, from
capital habeas, that you only have that right at the habeas
proceeding level in a capital matter. I think.

THE COURT: Do you know what a capital matter is?

CARLOS ADRIAN MORLEY: Yes.

THE COURT: Mr. Morley?

 

UNITED STATES DISTRICT COURT

 
Case 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 31 of 52

10

11

12

13

14

15

16

17

18

19

20

2i

22

23

24

25

17

 

 

CARLOS ADRIAN MORLEY: Yes. I believe it's one where
someone has actually been murdered.

THE COURT: No. In a death penalty case.

CARLOS ADRIAN MORLEY: Okay.

THE COURT: Okay. Go ahead, Ms. Bertrand.

MS. BERTRAND: We discussed the leading case. I
believe it's Rohan (ph) regarding the availability of those
types of services.

Regarding the allegation of rudeness, I think this
goes to these issues. Mr. Morley sees a confrontation of fact
as rudeness, where I would say it's more saying, Well, that's
not what the record says or here's why you don't want to take
that step. Here is why this would be a better choice.

And, in fact, the discussion -- in terms of the
meeting at Starbucks which we arranged for his convenience,
Mr. Johnson gave him a ride home. It was hot that day and he
didn't want Mr. Morley to go back in the heat.

Mr. Johnson is direct with people, but I don't
believe he's rude. And when we received -- when my office
received a phone call at ten o'clock at night on a Friday, I
believe Mr. Johnson was direct with Mr. Morley about don't
call this number unless it's an emergency. We keep this
number open for emergencies. And that was followed up with
the e-mail that's discussed.

But I don't interpret those types of statements

 

UNITED STATES DISTRICT COURT

 
Case 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 32 of 52 18

10

Li

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

setting boundaries in explaining why there's a better way of
doing things or a better way to get to the goal as being rude
or inappropriate with a client.

THE COURT: Ms. Bertrand, could you estimate for me
how much time you have spent on this case in terms of hours?

MS. BERTRAND: Just an estimate, Your Honor, I would
estimate I have spent 15 to 20 hours. The record was
extensive. I had to do outside research regarding his health
issues, consulting with Mr. Johnson, et cetera.

We have kind of, with Mr. Morley telling me to go
away, it's kind of put the case on hold. I would like to
proceed. And, quite frankly, I think he has a winnable claim
and I told him that. I think he has a great claim, but he
doesn't want me to investigate it and that's where the tension
started.

THE COURT: Okay. Again, let me kind of cut to the
chase here. Do you believe that your relationship with
Mr. Morley has deteriorated to the level that you would prefer
not to represent him anymore?

MS. BERTRAND: I don't believe Mr. Morley would
communicate with me effectively.

THE COURT: Okay. That's not answering my question.

I want to know if you feel that in light of what he's
said and done and written about you, about Mr. Johnson,

whether that's something you can lay aside and you can

 

UNITED STATES DISTRICT COURT

 
Case 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 33 of 52

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

19

 

 

continue to represent him with your full energies and passion
that you have that I have seen before in representing criminal
defendants, which is usually where we have our contact; or
whether you think your relationship has deteriorated in light
of all that's happened to the point that you would prefer not
to represent him?

Because, you know, I'm going to make it clear here.
I'm not going to keep you two married together if you are not
happy with each other, because I don't want Mr. Morley to say
he lost his habeas petition because his lawyer didn't do A, B,
C, or D, and then we have other issues.

MS. BERTRAND: That was going to be my concern, Your
Honor. My willingness to do a good job for Mr. Morley, like
it is to do for any client, is one thing.

My concern is the record at this point. And I don't
want there to be a misperception down the road that I did
anything to harm Mr. Morley's case.

THE COURT: Okay. So I'm still waiting for you to
answer my question whether you feel that you could plow ahead
and represent him and let bygones be bygones or -- and I'm
going to kind of get into the same line of questioning with
him as well; or whether you think that there has just been too
much damage and he needs to start afresh with somebody

different?

MS. BERTRAND: Judge, I would be more comfortable

 

UNITED STATES DISTRICT COURT

 
Case 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 34 of 52 20

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

seeing another lawyer step in.

THE COURT: All right. Mr. Morley --

CARLOS ADRIAN MORLEY: Yes, Your Honor?

THE COURT: I'm a little disappointed to have seen
your relationship deteriorate with a fine lawyer.

CARLOS ADRIAN MORLEY: Yes, Your Honor.

THE COURT: Who you just heard say here in open court
that she thinks you have a winnable case. I don't know. I
haven't got into your case deep enough to know whether you do
or don't. Most habeas petitions are denied.

CARLOS ADRIAN MORLEY: Yes.

THE COURT: But some are granted. And I can't tell
you now. It's premature. Reluctantly, I'm going to give you
a new lawyer.

CARLOS ADRIAN MORLEY: Thank you.

THE COURT: I'm not finding that either Ms. Bertrand
or Mr. Johnson did anything inappropriate in representing you
or your interests. I can assure you, Mr. Morley, that there
will not be a third lawyer.

CARLOS ADRIAN MORLEY: Yes, Your Honor.

THE COURT: And if you get on the wrong side of your
next lawyer and he or she says, "I want off of this case
because I can't deal with him. He's impossible. He wants me
to do that. I told him you can't. He wants me to do this. I

said that's unethical. He wants me to do that. You can't do

 

UNITED STATES DISTRICT COURT

 
Case 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 35 of 52 21

10

Li

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

that. It's not exhausted." You need to follow your lawyer's
advice.

CARLOS ADRIAN MORLEY: Yes, Your Honor.

THE COURT: There won't be a third lawyer.

CARLOS ADRIAN MORLEY: Thank you.

THE COURT: You will be representing yourself. Do
you understand that?

CARLOS ADRIAN MORLEY: Yes, Your Honor.

THE COURT: All right. I'm going to grant the motion
and I'll enter an order in the near future.

Ms. Bertrand, I would appreciate your cooperation and
assistance in providing everything you have in your file
regarding Mr. Morley and what research and so forth to the
next lawyer when he or she contacts you.

MS. BERTRAND: I would be happy to do that.

THE COURT: All right. Thank you. We are adjourned.

CARLOS ADRIAN MORLEY: Thank you, Your Honor.

THE COURT: You're welcome.

CARLOS ADRIAN MORLEY: Thank you very much.

(Proceedings adjourned at 4:07 p.m.)

 

UNITED STATES DISTRICT COURT

 
Case 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 36 of 52 22

10

11

12

13

14

i5

16

17

18

19

20

21

22

23

24

25

 

 

CERTIFICATE

I, ELIZABETH A. LEMKE, court-approved transcriber,
certify that the foregoing is a correct transcript from the
official electronic sound recording of the proceedings in the

above-entitled matter.

DATED at Phoenix, Arizona, this 19th day of January,

2011.

s/Elizabeth A. Lemke
ELIZABETH A. LEMKE

 

UNITED STATES DISTRICT COURT

 
Case 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 37 of 52

EXHIBIT C
Case 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 38 of 52

eo eo N OO OO Se B&O Nl

we Mw HO OW DW KS WO KH KH | | KF FE FEF FEF SE OES —
on Oo oO fF WO NS KW CO CO TF NO FP wo Ke KE

Case 2:09-cv-01554-NVW Document 75 Filed 01/11/11 Page 1 of 15

THOMAS C. HORNE
ATTORNEY GENERAL
(FIRM STATE Bar No. 14000)

ADRIANAM. ROSENBLUM
ASSISTANT ATTORNEY GENERAL
CRIMINAL APPEALS/

CAPITAL LITIGATION SECTION
1275 W. WASHINGTON
PHOENIX, ARIZONA 85007-2997
TELEPHONE: (602) 542-4686
(STATE BAR NUMBER 025724)
E-MAIL: CADocket@azag.gov

ATTORNEYS FOR RESPONDENTS

UNITED STATES DISTRICT COURT

DISTRICT OF ARIZONA
Carlos Adrian Morley, CIV 09-1554-PHX-NVW (LOA)
Petitioner,
_ys- RESPONDENTS’ BRIEFING IN
ACCORDANCE WITH THE
Yolanda Elliot, et. al., COURT’S ORDER OF JULY 7,
Respondents. 2010

 

 

Respondents submit its briefing pursuant to this Court’s order of July 7, 2010.
Upon review of the record and controlling legal authority, Respondents agree that
Petitioner was denied the effective assistance of counsel in CR2003-021342
because: (1) defense counsel advised Petitioner to enter into a plea agreement
contemplating an historical prior felony conviction that did not exist, and (2) as a
result, Petitioner suffered prejudice when he was subjected to an enhanced

sentencing range.

 
Ca

woe NN OS oO Se & Nl

wwe hw Ke HY KW KY KW Ww | -— SF SF SF SSE Sl Sl
on OOO ew OU NlUlre RE UC OlUCUCCOlUCUCUCcCROlCUCUCc NCUCUCOUNODULURrmCUlUCUOOONCULM CUO

Be 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 39 of 52
Case 2:09-cv-01554-NVW Document 75 Filed 01/11/11 Page 2 of 15

I, FACTUALAND PROCEDURAL BACKGROUND. |

On July 7, 2010, this Court issued an Order finding that an evidentiary
hearing was warranted on Petitioner's Ground I claim that counsel in CR2003-
021342 was ineffective because she advised and permitted him to enter into a plea
agreement that included an admission to an historical prior conviction and exposed
him to an enhanced sentence under A.R.S. § 13-604 when Petitioner did not have a
prior conviction. (Docket 38, at 1.) Specifically, this Court found that “the
performance of defense counsel in CR2003-021342 was likely deficient for
advising Petitioner to accept a plea agreement which permitted the court to
consider Petitioner's conviction in CR2002-014160 as a prior conviction for
sentence enhancement purposes under A.R.S. § 13-604. (Id. at 20.) This Court,
however, declined to resolve the issue because the record and briefing was
insufficient. (Jd. at 25.) This Court likewise found the briefing and record on
Strickland’s prejudice prong deficient. (/d.) As a result, this Court scheduled an
evidentiary hearing in the interest of creating a complete record. (Jd. at 26.) This
Court further ordered simultaneous briefing addressing the issue of whether
Shelley Davis was ineffective. (Jd. at 27.)

Shortly thereafter, on July 15, 2010, Respondents asked this Court to
reconsider its order because Petitioner’s plea in CR2002-014160 validly served as
an historical prior conviction in his CR2003-021342 plea agreement, and defense
counsel was thus not ineffective. (Docket 40.) This Court denied Respondent’s
motion noting that its “findings” were not final and the parties could address the
prior conviction issue during the evidentiary hearing and in their briefing. (Docket
42.)

 

' Because Respondents thoroughly recited the factual and procedural background
in our answer, we will set forth only the relevant facts that have arisen since the
answer was filed in February 2010. (See Docket 21.)

2

 

 
Ca

oOo Oo nN OO oO SP whl

nw hme DH MN DM MG Df %F NH | | FSF FEF FOE OSE ESE hh hr
aon Oo oF WO NO wt Oo UlcrmlUlUcrrOlUCc Nl OUULULULURDClUCUOOOOUNDNUCUCULR CUO

Be 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 40 of 52
Case 2:09-cv-01554-NVW Document 75 Filed 01/11/11 Page 3 of 15

On December 21, 2010, Respondents filed a motion to dismiss Grounds I
and II of Petitioner’s habeas petition for lack of jurisdiction arguing his claims
related to CR2003-021342 are moot because they challenge his sentence which
Petitioner has served in its entirety. (Docket 66.) While briefing has been
completed, this motion is still at issue.

II. ARGUMENT.

Petitioner was denied the effective assistance of counsel in CR2003-021342
because: (1) defense counsel advised Petitioner to enter into a plea agreement
contemplating an historical prior felony conviction that did not exist, and (2) as a
result, Petitioner suffered prejudice when he was subjected to an enhanced
sentencing range.”

A. Standard of Review.

This Court may grant a writ of habeas corpus “only on the basis of some
transgression of federal law binding on state courts.” Middleton v. Cupp, 768 F.2d
1083, 1085 (9th Cir. 1985); see also Engle v. Isaac, 456 U.S. 107, 119 (1982). The
writ of habeas corpus is intended to guard against “extreme malfunctions” in the
judicial system, Brecht v. Abrahamson, 507 U.S. 619, 634 (1990) (internal
quotation marks omitted), and is available only to those “whom society has
grievously wronged.” Calderon v. Coleman, 525 U.S. 141, 146 (1998) (per

curiam) (internal quotation marks omitted). In fact, Congress’ very purpose in

 

* In conceding Petitioner did not receive the effective assistance of counsel
guaranteed under the Sixth Amendment, Respondents do no waive their mootness
argument set forth in their pending motion to dismiss for lack of_jurisdiction.,
Despite deficient performance, and the resulting prejudice, this Court should
dismiss Petitioner’s claims because he has served his sentence in its entirety and
can_ receive no further redress. Spencer v. Kemna, 523 US. 1, 7 (1998)
(“[T]hroughout the litigation, the plaintiff must have suffered, or be threatened
with, an actual injury traceable to the defendant and likely to be redressed by a
favorable judicial décision.”); U.S. v. Palomba, 182 F.3d 1121, 1123 (Qth Cir.
1999) (finding a challenge to a petitioner’s sentence becomes moot once the
sentence is completed).

 

 
Cage 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 41 of 52

eo FSF NN SO ON SP BO HO

we Mh Dh DH DO HD BD DR BRO ee RS
aon oO nF WO NO Re OoOOD CRrROUGN C OCOOUUOLlUlULUR lUlCOeOUNOCUL CO

 

Case 2:09-cv-01554-NVW Document 75 Filed 01/11/11 Page 4 of 15

enacting the Anti-terrorism and Effective Death Penalty Act (AEDPA) was “to
restrict the availability of habeas corpus relief.” Greenawalt v. Stewart, 105 F.3d
1268, 1275 (9th Cir. 1997).

In keeping with Congress’ intent, AEDPA limits the availability of habeas
relief for a claim adjudicated on its merits to circumstances where the state court’s
disposition either:

(1) resulted in a decision that was contrary to, or involved an

unreasonable application of, clearly established Federal law, as
determined by the Supreme Court of the United States; or

(2) resulted in a decision that was based on an unreasonable
determination of the facts in light of the evidence presented in the
State court proceeding.

28 U.S.C. § 2254(d).

A state court decision is “contrary to” clearly established federal law when
the court has applied a rule of law that contradicts the governing law set forth in
Supreme Court precedent, or has encountered a set of facts that are “materially
indistinguishable” from a Supreme Court decision and yet reached a different
result than the Supreme Court. Early v. Packer, 537 U.S. 3, 8 (2002) (per curiam).
Similarly, under 28 U.S.C. § 2254(d)’s “unreasonable application” clause, “a
federal habeas court may not issue the writ simply because that court concludes in
its independent judgment that the relevant state-court decision applied clearly
established federal law erroneously or incorrectly.” Williams v. Taylor, 529 U.S.
362, 411 (2000). The state court’s application of Supreme Court precedent must be
“objectively reasonable,” which requires the decision to be more than incorrect or
erroneous. Lockyer v. Andrade, 538 U.S. 63, 75 (2003); see also Bell v. Cone, 535
U.S. 685, 694 (2002) (finding unreasonable application distinct from incorrect
one). Additionally, as discussed above, this Court presumes that a state court’s

factual determination is correct, and a petitioner bears the burden of rebutting this

 
Ca

eo fen OO Se Owl

~re nw &% WH WHO KH WOK BS S| S&B Be Se = eS ee
oN OO fF WO BO KF Swe ON DB oF we HF CS

pe 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 42 of 52
Case 2:09-cv-01554-NVW Document 75 Filed 01/11/11 Page 5 of 15

presumption by clear and convincing evidence. See 28 U.S.C. § 2254(e)(1);
Purkett v. Elem, 514 U.S. 765, 769 (1995) (per curiam); Williams v. Rhoades, 354
F.3d 1101, 1106 (9th Cir. 2004).

B. The Two-Part Strickland Test.

The Supreme Court has set forth the clearly established federal law
governing ineffective assistance of counsel claims in Strickland v. Washington, 466
U.S. 668 (1984). To merit relief, a petitioner must show that “counsel’s conduct so
undermined the proper functioning of the adversarial process that the trial cannot
be relied on as having produced a just result.” Strickland, 466 U.S. at 686. The
petitioner must satisfy each prong of the two-part Strickland test by demonstrating
that: (1) counsel’s performance was deficient under prevailing professional
standards, and (2) he suffered prejudiced as a result. Jd. at 687-88. |

i. Deficient Performance.

A petitioner demonstrates deficient performance by showing “that counsel’s
representation fell below an objective standard of reasonableness.” Jd. A
petitioner's allegations and supporting evidence must withstand this Court’s
“highly deferential” scrutiny of counsel’s performance, and overcome its strong
presumption that counsel “rendered adequate assistance and made all significant
decision in the exercise of reasonable professional judgment.” Jd. at 689-90.
Under this deferential standard, a petitioner bears the heavy burden of showing that
counsel's assistance was “neither reasonable nor the result of sound trial strategy.”
Murtishaw v. Woodford, 255 F.3d 926, 939 (9th Cir. 2001). Actions by counsel that
“might be considered sound trial strategy” do not constitute ineffective assistance.
Strickland, 466 U.S. at 689 (quoting Michel v. Louisiana, 350 U.S. 91, 101 (1955)).
In fact, this Court engages in an “extremely limited” examination of counsel’s

performance:

The test has nothing to do with what the best lawyers would have
done. Nor is the test even what most good lawyers would have done.

9

 

 
Ca

wo CoN OOO Se OO NOU

Dh Rh NH MH DW] PO ODDO ie
on OD oO FW NOH KH SC BO eC NHN OH SB WwW WF OS

se 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 43 of 52
Case 2:09-cv-01554-NVW Document 75 Filed 01/11/11 Page 6 of 15

[This Court] ask[s] only whether some reasonable lawyer at the trial
could have acted, in the circumstances, as defense counsel acted at
trial.

Coleman v. Calderon, 150 F.3d 1105, 1113 (9th Cir. 1998), rev'd on other grounds,
525 U.S. 141 (1998) (internal quotation marks omitted).

As Coleman suggests, “[a] fair assessment of attorney performance requires
that every effort be made to eliminate the distorting effects of hindsight, to
reconstruct the circumstances of counsel’s challenged conduct, and to evaluate the
conduct from counsel’s perspective at the time.” Boldin v. Calderon, 59 F.3d 815,
833 (9th Cir. 1995) (quoting Strickland, 466 U.S. at 689). This Court “will neither
second-guess counsel’s decisions, nor apply the fabled twenty-twenty vision of
hindsight.” Campbell v. Wood, 18 F.3d 662, 673 (9th Cir. 1994) (en banc).

ii. Prejudice.

Even when a petitioner establishes that counsel has performed deficiently, he
must still show prejudice to be entitled to relief. Strickland, 466 U.S. at 687-96.
This Court will not presume prejudice. Jackson v. Calderon, 211 F.3d 1148, 1155
(9th Cir. 2000). Rather, a petitioner must affirmatively prove actual prejudice—the
mere possibility that he suffered prejudice is insufficient to establish Strick/and’s
prejudice prong. See Cooper v. Calderon, 255 F.3d 1104, 1109 (9th Cir. 2001). To
prove prejudice, a petitioner must show a “reasonable probability that, but for
counsel’s unprofessional errors, the result of the proceeding would have been
different. Strickland, 466 U.S. at 694; see Lockhart v. Fretwell, 506 U.S. 364, 372
(1993) (noting prejudice prong concerned with whether “counsel’s deficient
performance rendered] the result of the trial unreliable or the proceeding
fundamentally unfair . . . [u]nreliability or unfairness does not result if the
ineffectiveness of counsel does not deprive the defendant of any substantive or
procedural right”). A “reasonable probability” is one “sufficient to undermine

confidence in the outcome.” Strickland, 466 U.S. at 694. Because Petitioner pled

 

 
Ca

we NO ON Se OULU

wow we BH Be NH HO BR kOe S| SB SE SEO Sl SES Sl
aon OOM FP Kw Nw RP  OllUlUcCOlLlUCOCOUlUCUCUNCUCOOUCUNMLULULDRLUOULNULE CUO

se 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 44 of 52
Case 2:09-cv-01554-NVW Document 75 Filed 01/11/11 Page 7 of 15

guilty, he must establish “a reasonable probability that, but for counsel’s errors, he
would not have pleaded guilty and would have insisted on going to trial.” Hill v.
Lockhart, 474 U.S. 52, 59 (1985).

Finally, in reviewing a state court’s resolution of an ineffective assistance of
counsel claim, this Court considers only whether the state court applied Strickland

unreasonably:

For [a petitioner] to succeed [on an ineffective assistance of counsel
claim], . . . he must do more than show that he would have satisfied
Strickland s test if his claim were being analyzed in the first instance,
because under § 2254(d)(1), it is not enough to convince a federal
habeas court that, in its independent judgment, the state-court decision
applied Strickland incorrectly. Rather, he must show that the [state
court] applied Strickland to the facts of his case in an objectively
reasonable manner.

Bell, 535 U.S. at 698-99 (citation omitted); see also Woodford v. Visciotti, 537 U.S.
19, 24-25 (2002) (“Under § 2254(d)’s ‘unreasonable application’ clause, a federal
habeas court may not issue the writ simply because that court concludes in its
independent judgment that the state-court decision applied Strickland incorrectly.
Rather, it is the habeas applicant’s burden to show that the state court applied
Strickland to the facts of his case in an objectively unreasonable manner.”)
(citations omitted).
C. Analysis.

In applying the Strickland standard to Petitioner’s case, it is clear that he did
not receive the effective assistance of counsel. Consequently, Petitioner’s plea
agreements should be vacated and his original charges reinstated.

i. Defense counsel’s performance was deficient for advising
Petitioner to accept a plea agreement which considered a
prior felony conviction that did not exist.

The performance of defense counsel in CR2003-021342 was deficient for

advising Petitioner to accept a plea agreement which permitted the state court to

 

 
Ca

eo Se NUN OOOO Se wBOUUNOULUlU

we we we WH WW Ww KH KL §— §— = FSF SS SF SS Se
lo i > 2 eo > eo oi: o> eo) oC . OE Oo)

se 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 45 of 52
Case 2:09-cv-01554-NVW Document 75 Filed 01/11/11 Page 8 of 15

consider Petitioner’s conviction in CR2002-014160 as a prior conviction for
sentence enhancement purposes under A.R.S. § 13-604. In advising her client to
accept the plea agreement, defense counsel ignored the controlling Arizona
precedent governing the use of contemporaneous convictions for sentence
enhancement.

For instance, the Arizona Supreme Court addressed the “historical prior
felony conviction” requirement for sentence enhancement under A.R.S. § 13-604
in State v. Thompson, 200 Ariz. 439, 27 P.3d 796 (2001). In Thompson, the
appellant pled guilty to two drug offenses in May 1998. Jd. at 440, { 2, 27 P.3d at
797. Before sentencing, however, he absconded but was taken into custody shortly
thereafter and charged with theft. Jd. A jury found the appellant guilty of the theft
charge in December 1998. Jd. The appellant was then sentenced on all three
convictions at a consolidated sentencing hearing the next month. Jd At that
hearing, the state alleged that the drug offenses were historical prior felony
convictions under A.R.S. § 13-604, and that the appellant should be sentenced
under the enhanced sentencing range set forth in that statute instead of the more
lenient sentencing range delineated in A.R.S. § 13-702.02. Jd. at { 3. The trial
court agreed and, applying A.R.S. § 13-604, sentenced the appellant to 3 years in
prison. Jd, The Arizona Supreme Court granted review “to determine which
sentence enhancement statute applies when the defendant commits prior felonies
before the offense for which he is being sentenced, yet is convicted of the prior
felonies after commission, but before conviction, of the present offense.” Jd. at {
5.

Upon review of the plain language of A.R.S. § 13-604, the Arizona Supreme
Court construed the term “historical prior felony conviction” to mean “the
conviction on the prior offense must precede the conviction on the present offense.”
Id. at 441, | 6, 27 P.3d at 798 (emphasis added). The Arizona Supreme Court

further explained that “[o]ne is convicted when there has been a determination of

8

 

 
Ca

oe eo NN OOO le OULU

ww WB TH WY TF TH OR BE ee
on Oo oT FP WO NO KH CO CE ON Oo Se we OS KH OS

se 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 46 of 52
Case 2:09-cv-01554-NVW Document 75 Filed 01/11/11 Page 9 of 15

guilt by verdict, finding, or the acceptance of a plea.” Jd. at {7 (citing State v.
Walden, 183 Ariz. 595, 615, 905 P.2d 974, 994 (1995)). Enhancement under
A.R.S. §13-604 is then unavailable when felonies are tried together. Jd. at { 9.
Instead, when “offenses are consolidated for trial, the conviction on the prior
offense cannot precede the conviction for the subsequent offense. Thus, when
felonies are tried together, any enhancement must be pursuant to A.R.S. § 13-
702.02.” Jd. Because the appellant in Thompson was convicted of the drug
offenses by plea in May 1998, then convicted of the theft offense by verdict in
December 1998, his sentence was properly enhanced under A.R.S. § 13-604. Id. at
{7.

Three years later, just prior to Petitioner’s sentencing in this matter, the
Arizona Court of Appeals interpreted Thompson in State v. Ofstedahl, 208 Ariz.
406, 93 P.2d 1122 (App. 2004). In Ofstedahl, the charges against the appellant
arose from four separate incidences in which she was arrested for DUI. Jd. at 407,
{ 2, 93 P.2d at 1123. The appellant and the state agreed to resolve the four criminal
prosecutions in a single plea agreement where the appellant would plead guilty to
all of the charged offenses. Jd. The agreement provided that, pursuant to § 13-604,
some of the DUI offenses would be used as historical prior felony convictions to
the other DUI offenses. Jd, The appellant pled guilty and provided a factual basis
for all of the counts at one hearing, and the trial court accepted the pleas at the
same time. Jd. At sentencing, the trial court enhanced four of the sentences using
the prior convictions as set forth in the plea agreement. Jd. The appellant then
filed a petition for post-conviction relief arguing that, pursuant to Thompson, her
first two convictions could not serve as historical prior felony convictions to
enhance her sentences for the other convictions entered at the same time. Jd. at { 3.

In applying the standard set forth in Thompson, the Arizona Court of
Appeals noted that “[i]n this context, we can discern no meaningful distinction

between convictions based on jury verdicts rendered at a single trial for multiple

9

 

 
Ca

eo oN OS NO BS BNO

wn wwe HH WH KH WH WY — — S&S BS BF Be ee
aon Oar Ww YFP CHO ON OMT F&F WO WO KF CS

Be 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 47 of 52
Case 2:09-cv-01554-NVW Document 75 Filed 01/11/11 Page 10 of 15

felonies and convictions resulting from the trial court’s acceptance of guilty pleas
to multiple felonies at the same hearing.” Id. at { 4 (emphasis added). Because the
trial court accepted the appellant’s guilty pleas in all four cases at the same time,
none of the resulting convictions preceded any others and they could not be used as
historical prior felony convictions to enhance the sentences for the other
convictions encompassed by the same plea agreement. Jd. Instead, the applicable
sentencing statute was A.R.S. § 13-702.02 which contemplates multiple
prosecutions that are resolved through a comprehensive plea agreement and all
pleas are entered at the same time. Jd. at 408, { 6, 93 P.3d at 1124.

Here, at a single change of plea hearing, Petitioner pled guilty in CR2002-
014160 and CR2003-021342. (Docket 21, Exhibit P.) At that hearing, despite
addressing the charges and plea agreements in both cause numbers separately, the
trial court accepted both pleas on the same date, and at the same time. (Jd)
Petitioner’s conviction in CR2002-014160, therefore, could not precede his
conviction in CR2003-021342, and Petitioner did not have a prior historical felony
conviction as construed in Thompson and Ofstedahl, which could be used to
enhance his sentence under A.R.S. § 13-604.

Although it appears from the record that, as a term of the plea agreement in
CR2003-021342, the parties intended to use Petitioner’s conviction in CR2002-
014160 as an historical prior felony conviction, it is of little consequence. In order
to use the CR2002-014160 conviction as an historical prior felony conviction, the
change of plea hearing in that cause number had to be calendared for a date prior to
the change of plea hearing in CR2003-021342. The Arizona Court of Appeals has
noted the absurdity that is created under circumstances such as these:

We appreciate the trial court’s observation that applying Thompson in
this context might “create absurdities”: the court noted that sentencing
under § 13-604 would have been permissible under [the appellant’s]
reading of Thompson if it had merely calendered the change-of-plea
hearings for each cause number on different dates. But the same

10

 

 
Ca

Co oN ON SF }! HOO

ww ww ww WY WY WH OB =! BY Be Be Se ee eS ee
on OO NT Se WO Ne HSH CO CO ON ON Oe lUlUwhOlUmLNOULUCUrEClCUCS

 

e 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 48 of 52
Case 2:09-cv-01554-NVW Document 75 Filed 01/11/11 Page 11 of 15

anomaly arises in the jury trial context: convictions for distinct crimes
rendered at separate trials can be used as historical prior convictions
under § 13-604, but Thompson is clear that enhancement under § 13-
604 is impermissible if the same felonies are tried together.
Thompson, 200 Ariz. at 441, [ 9, 27 P.3d at 798. We have no authority
to overrule the supreme court’s decision in Thompson.

Ofstedahl, 208 Ariz. at 408, { 8, 93 P.3d at 1124.

Similarly, this Court is bound by the precedent set forth in Thompson despite
its absurd effect in Petitioner’s case. Defense counsel’s failure to be familiar with
the controlling case law was unreasonable and cannot be construed as sound trial
strategy. See Tilcock v. Budge, 538 F.3d 1138, 1146 (9th Cir. 2008) (“We can think
of nothing strategic about failing to object at sentencing to categorically non-
qualifying convictions that would prevent a defendant from being eligible for
sentencing under a habitual criminal statute.”). Defense counsel’s performance
was therefore deficient. |

ii. Petitioner was prejudiced by defense counsel’s deficient
performance because he was subjected to an enhanced
sentencing range under A.R.S. § 13-604.

As a result of defense counsel’s deficient performance, Petitioner was
subjected to an enhanced sentencing range. In CR2003-021342, Petitioner pled
guilty to solicitation to commit first degree murder as a class 3 felony with one
historical prior felony conviction. (Docket 21, Exhibit O.) The plea agreement
additionally provided that Petitioner shall be sentenced to a term of imprisonment
not less than the statutory presumptive and not to exceed the statutory maximum.
(Id) Consequently, Petitioner was subjected to the sentencing range set forth in
A.R.S. § 13-604(B) (1998), which contemplates a person who has been convicted
of a class 3 felony and who has an historical prior felony conviction. The range
provides for a presumptive term of 6.5 years’ imprisonment and a maximum term

of 13 years’ imprisonment. A.R.S. § 13-604. At the sentencing hearing, the state

11

 
Ca

eo Se NUN OO Fe |! Tle

New we BY WS BS WB Nw KY | S— SF SF FF SEO Sl ES
oN Oo OT PF WO Kw Bw Oo CO ON ON PF weOOfOhUE CO

ge 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 49 of 52
Case 2:09-cv-01554-NVW Document 75 Filed 01/11/11 Page 12 of 15

court found a slightly aggravated sentence was warranted, and sentenced Petitioner
to 7.5 years’ imprisonment. (Docket 21, Exhibit S.)

Because Petitioner did not have an historical prior felony conviction, he
should have been sentenced pursuant A.R.S. § 13-702.02 (1999). A.R.S. § 13-
702.02 is appropriate for a “person who is convicted of two or more felony
offenses that were not committed on the same occasion but that either are
consolidated for trial purposes or are not historical prior felony convictions as
defined in section 13-604.” The sentencing range for a class 3, second
nondangerous felony offense provides for a presumptive term of 3.5 years’
imprisonment and a maximum term of 7 years’ imprisonment. A.R.S. § 13-702.02
(B)(3). Petitioner's 7.5 year sentence then exceeded the correct statutory
maximum by 6 months. Presumably, the sentencing discrepancy exceeds the 6
months served in excess of the sanctioned sentencing range. If the state court,
knowing the correct sentencing range, still sought to sentence Petitioner to a
slightly aggravated term, it could be argued that he served a term of imprisonment
several years beyond that which would have been ordered.

In Glover v. United States, 531 U.S. 198 (2001), the Supreme Court
contemplated a similar instance in which, assuming defense counsel’s performance
fell below a reasonable standard, the defendant served a 6 to 21 month increased
sentence. The Supreme Court was then tasked with the duty of determining
whether the 6 to 21 month increase constituted prejudice for purposes of
Strickland, Id, at 199-204. Below, the Seventh Circuit Court of Appeals had
found that an increase of 6 to 21 months in a defendant’s sentence was not
significant enough to amount to prejudice for purposes of Strickland. Id. at 202.
The Supreme Court disagreed, however, and noted that the Court’s jurisprudence
suggested “that any amount of actual jail time has Sixth Amendment significance.”

Id, at 203. And while refusing to rule on the ultimate merits of the defendant’s

12

 

 
Cage 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 50 of 52

eo oN OO oO Se BH NO Oe

wo HO MH BR MH BD NH NO RN el
eon OO FP WON RP CO TO CON OO ON UL eOOeUNOlClUL CUO

 

Case 2:09-cv-01554-NVW Document 75 Filed 01/11/11 Page 13 of 15

claim, the Supreme Court agreed that “if an increased prison term did flow from an
error[,] the petitioner has established Strickland prejudice.” Jd. at 204-05.

The Ninth Circuit Court of Appeals recently applied Glover and, in doing so,
found that if a defendant could show a “reasonable probability” that “absent his
counsel’s ineffective performance he would have obtained a verdict leading to less
time in prison, then, applying Strickland and Glover, he has satisfied the prejudice
prong of the ineffective assistance of counsel test.” Moore v. Czerniak, 574 F.3d
1092, 1131 (9th Cir. 2009) (Berzon, J., concurrence). In Petitioner’s case, he was
subjected to an enhanced sentencing range in which he at least served 6 months in
excess of the correct statutory maximum. Moreover, if the state court had found
that a presumptive sentence was appropriate, Petitioner has served as much as 48
months in excess of the maximum. Under Glover and Moore, the 6 to 48 month
increase of Petitioner’s sentence constitutes Strickland prejudice.

iii. This Court should vacate the plea agreements in CR2002-
014160 and CR2003-021342 and reinstate the original
charges.

In light of the conceded error in this case, this Court should vacate the plea
agreements in CR2002-014160 and CR2003-021342 and reinstate the original
charges. See United States v. Barron, 172 F.3d 1153, 1164-65 (“Generally, the
appropriate remedy in the situation in which a prisoner entered a defective plea
pursuant to a plea agreement is to set aside the plea and grant a new trial.”); United
States v. Barker, 681 F.2d 589, 592-93 (9th Cir. 1982) (finding that the district
court could reinstate the prisoner’s indictment after the petitioner successfully
attacked her plea on the ground that her plea was made in the absence of adequate
information); see also United States v. Gerard, 491 F.2d 1300, 1306 (9th Cir. 1974)
(“If, for example, a defendant pleaded guilty to one count and the prosecutor
dismissed the others, it should be reasonably apparent that the dismissal was in

consideration of the plea; if the defendant succeeded in withdrawing the plea, he

13

 
Cage 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 51 of 52

o fe nN Oo ONT Se ww ONO

~wnw w© WB WH WH YO WH LR S&S eB es ee ee
oN OO fF He BO B= SOS BS ON Oo B® WwW hw KB OC

 

Case 2:09-cv-01554-NVW Document 75 Filed 01/11/11 Page 14 of 15

should not be able to object to the prosecutor’s reviving the other counts.”).
Because the State obviously contemplated Petitioner’s CR2003-021342 plea in
preparing the CR2002-014160 plea agreement, both plea agreements should be
vacated as a result of defense counsel’s deficiency in CR2003-021342.

Petitioner then is cautioned that he may face trial and the possibility of
considerably more prison time if his pleas are vacated. In CR2002-014160,
Petitioner faced two counts of fraudulent schemes and artifices, class 2 felonies;
three counts of theft, class 2 felonies; and two counts of trafficking in stolen
proper, class 3 felonies. (Docket 21, Exhibit C.) In CR2003-021342, Petitioner
was charged with a single count of conspiracy to commit first degree murder as a
class 1 felony. (Docket 21, Exhibit F.) Should the State choose to proceed on all
eight counts as charged, Petitioner could be sentenced to a considerable term of
imprisonment in addition to that already served. See Alabama v. Smith, 490 U.S.
794, 795-803 (1989) (finding that, absent vindictive purposes, a trial court may
impose a greater sentence after trial than that previously imposed after a guilty plea
which the defendant succeeded in having vacated).

III. CONCLUSION.

Petitioner did not receive the effective assistance of counsel guaranteed
under the Sixth Amendment. This Court should vacate Petitioner’s plea
agreements in CR2002-014160 and CR2003-021342 and reinstate the original
charges brought against him. Because we concede deficient performance and
resulting prejudice, Respondents request this Court vacate the evidentiary hearing
scheduled for January 21, 2011.

14

 
Ca

eo ONO NO FSP Bw fl

wo we we WO WH WH WO KW TO = &— = Se Se Se es Se Re
oN Oo oO fF WO NB KH CO CO ON ODO B® | DT SB CO

Be 2:09-cv-01554-NVW Document 91 Filed 03/01/11 Page 52 of 52
Case 2:09-cv-01554-NVW Document 75 Filed 01/11/11 Page 15 of 15

DATED this 11th day of January 2011.

RESPECTFULLY SUBMITTED,

THOMAS C. HORNE
ATTORNEY GENERAL

/s/

ADRIANA M. ROSENBLUM
ASSISTANT ATTORNEY GENERAL
ATTORNEYS FOR RESPONDENTS

CERTIFICATE OF SERVICE

the attached document to the Clerk's Office using the ECF System
transmittal of a Notice of Electronic Filing to the following ECF registrant:

David S Eisenberg
David Eisenberg PC

331 N 1st Ave

Ste 108

Phoenix, AZ 85003-4528

Attorney for Petitioner

s/
E. Leyva

1441257

15

 

I hereby certify that on this 11th day of January, 2011, I electronically transmitted
or filing and

 
